Case 2:13-cr-06070-SAB              ECF No. 32         filed 12/18/13       PageID.70        Page 1 of 1

      United States District Court, Eastern District of Washington
                              Magistrate Judge James P. Hutton
                                           Yakima

USA v. KENNETH RICHARD ROWELL                                    Case           CR-13-6070-WFN-1
                                                                 No.


Defendant’s Motion to Reopen Detention Hearing to                                          12/18/2013
Reconsider Conditions of Release (ECF No. 25):

☒ Pam Howard, Courtroom Deputy [Y]                    ☒ Benjamin Seal, US Atty
                                                      ☒ Rick Hoffman, Defense Atty
☒ Stephen Krous, US Probation / Pretrial              ☒ Interpreter NOT REQUIRED
  Services
☒ Defendant present ☒ in custody USM                  ☐ Defendant not present / failed to appear
                    ☐out of custody

☒ Defendant continued detained                         ☐ Conditions of Release imposed
                                                       ☐ 199C Advice of Penalties/Sanctions

                                              REMARKS
         Defense counsel argued why there are conditions which justify reconsidering the issues of bail
and that such conditions will reasonably assure Defendant’s appearance as required.
         Defense submitted 3 letters in support of the defendant from the defendant’s father, brother and a
Mr. Brent Pierce.
         Defense counsel offers conditions that could be imposed to ensure the defendant’s appearance in
court.
         Court colloquy with defense counsel regarding residency and employment.
         Government argued that there are no conditions which justify reconsidering the issues of bail or
that there are no conditions which will reasonably assure Defendant’s appearance as required and/or the
safety of any other person and the community.

The Court ordered:
            1. Defendant’s Motion to Reopen Detention Hearing to Reconsider Conditions of Release
               (ECF No. 25) is denied.
            2. The Court ruled that there are no conditions which justify reconsidering the issue of bail
               or that there are conditions of release which will reasonably assure Defendant’s
               appearance as required.
            3. Defendant shall be detained by the U.S. Marshal until further order of the Court.




                            FTR/Y‐102              Time: 2:03 p.m. – 2:29 p.m.                      Page 1
